
721 S.E.2d 616 (2011)
313 Ga. App. 410
In the Interest of J.H.
No. A11A2061.
Court of Appeals of Georgia.
December 16, 2011.
Samantha M. Edwards, for appellant.
J. David Miller, Dist. Atty., Laura Anderson Wood and Jessica Whittington Clark, Asst. Dist. Attys., for appellee.
BARNES, Presiding Judge.
The juvenile court adjudicated J.H. delinquent for committing multiple acts which would have constituted felonies if he had been an adult, including terroristic threats, cruelty to children in the second degree, family violence simple battery, participating in criminal street gang activity, and criminal damage to property in the second degree. At the hearing, the juvenile court determined that J.H. had three previous adjudications for acts that would have been felonies if he had been an adult, and in his written order held that J.H. had committed "Designated Felonies" and required restrictive custody pursuant to OCGA § 15-11-63. The court thus committed J.H. to the custody of the Georgia Department of Juvenile Justice for care, supervision, and planning, to be confined in a Youth Development Center for 60 months. J.H. appeals, asserting that the State failed to prove venue and that the evidence was insufficient to sustain his adjudication of delinquency on any of the acts alleged.
The State, to its credit, concedes that J.H.'s adjudication and commitment should be reversed because the State failed to prove venue and failed to produce sufficient evidence to sustain the adjudication on any of the acts alleged. The only witness who testified at the hearing was a police officer who simply repeated the hearsay complaints made to him by J.H.'s stepfather.
Because the State failed to prove venue and because the evidence against J.H. was insufficient, the juvenile court's, adjudication of delinquency and order of commitment is reversed.
Judgment reversed.
ADAMS and BLACKWELL, JJ., concur.
